Case 18-55820-jrs   Doc 16   Filed 05/01/18 Entered 05/01/18 09:29:01   Desc Main
                             Document      Page 1 of 6
Case 18-55820-jrs   Doc 16   Filed 05/01/18 Entered 05/01/18 09:29:01   Desc Main
                             Document      Page 2 of 6
Case 18-55820-jrs   Doc 16   Filed 05/01/18 Entered 05/01/18 09:29:01   Desc Main
                             Document      Page 3 of 6
Case 18-55820-jrs   Doc 16   Filed 05/01/18 Entered 05/01/18 09:29:01   Desc Main
                             Document      Page 4 of 6
Case 18-55820-jrs   Doc 16   Filed 05/01/18 Entered 05/01/18 09:29:01   Desc Main
                             Document      Page 5 of 6
Case 18-55820-jrs   Doc 16   Filed 05/01/18 Entered 05/01/18 09:29:01   Desc Main
                             Document      Page 6 of 6
